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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


TYRAN DOBBS,                                   *

                Plaintiff,                     *

v.                                             *        Civil Action No. 18-cv-339-RDB

SGT. THOMAS TOWNSEND, et al.,                  *

                 Defendants.                    *
       *        *     *      *        *        *       *       *       *       *        *       *

                                    JOINT STATUS REPORT

       The undersigned counsel hereby report on the status of the instant litigation as follows:

1. Discovery:

       Factual discovery has been completed. The parties have agreed, with the consent of this

Court, to postpone expert discovery until such time as any dispositive pretrial motions have been

decided.

2. Pending Motions:

       There are no motions pending before the Court at this time.

3. Dispositive Motions:

       Plaintiff does not anticipate the filing of any dispositive motions at this time. The named

Defendants will be filing a dispositive motion(s) within this Court’s designated deadline.

4. Trial:

       Plaintiff has requested that this matter be tried by a jury. It is anticipated that this case will

necessitate approximately four days of trial time.

5. Settlement Discussions and Consent for Referral to Settlement or ADR Conference:

       No settlement discussions have been conducted between the parties.
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       Plaintiff would like to participate in a settlement conference. Defendants have advised the

Plaintiff that they would consider requesting referral for a settlement or ADR conference after their

dispositive motion have been resolved.

6. Consent to transfer this matter to another judge:

       There is not universal consent among the parties to conduct further proceedings before a

Magistrate Judge.

7. Other Matters:

       There are no other outstanding matters at this time.


                                      Respectfully submitted,




 __________- s- ___________________                __________- s- ___________________
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 Counsel for Plaintiffs                            Counsel for Defendants
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 16th day of October 2018, a copy of the foregoing

Joint Status Report was sent by electronic mail and mailed, postage prepaid, to:

       Louis P. Ruzzi, Esquire
       Senior Assistant County Solicitor
       Howards County Office of Law
       3450 Courthouse Drive
       Ellicott City, Maryland 21043



                                                            __________- s- ________________
                                                            Anton L. Iamele
